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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ESTATE OF JOHNSON,                                                     CIVIL ACTION
 JOHNSON, ANTHONY, BENEFICIARY
 CLAIMANT,                                                              NO. 21-cv-04597-MMB

                           v.

 STATE OF PENNSYLVANIA, et al.

                                                               ORDER

          AND NOW, this 10th day of December 2021, the real party in interest is an individual,

Anthony Johnson, proceeding pro se, and upon consideration of Plaintiff’s Motion for Leave to

Amend and Supplement and for Joinder of Additional Plaintiffs (ECF No. 10) and Defendants’

Motion for Extension of Time to Respond to Plaintiff’s Brief (ECF No. 11), it is ORDERED:

          1.         Plaintiff’s Motion for Leave to Amend and Supplement and for Joinder of

          Additional Plaintiffs is DENIED because it is without merit and is non-compliant with

          the Federal Rules of Civil Procedure, the Local Rules of this Court, and this Court’s

          October 26, 2021 Order (ECF No. 5).

            2.       Defendants’ Motion for Extension of Time to Respond to Plaintiff’s Brief is

            DENIED AS MOOT.

          IT IS ALSO ORDERED that Plaintiff’s Request (ECF No. 3) and Plaintiff’s Praecipe to

Amend Respondent(s) and Enter Criminal Complaint and Order (ECF No. 4) are DENIED

because both filings are without merit and are non-complaint with the Federal Rules of Civil

Procedure and the Local Rules of this Court. Plaintiff is instructed to comply with this Court’s

October 26, 2021 in its entirety and shall cease from telephone calls to this Court’s chambers.




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                                  BY THE COURT:

                                   /s/ MICHAEL M. BAYLSON
                                  ________________________________
                                   MICHAEL M. BAYLSON, U.S.D.J.




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